      Case 4:17-cv-03912 Document 8 Filed on 02/06/18 in TXSD Page 1 of 3



                            UNITED STATES DISTRICT COURT 
                             SOUTHERN DISTRICT OF TEXAS 
                                 HOUSTON DIVISION 

HEATHER HANNA                          § 
                                       § 
v.                                     §       Civil Action No. 4:17‐cv‐03912 
                                       § 
WELLS FARGO BANK, N.A.                 § 
                                        
                        JOINT STIPULATION TO ARBITRATE  
                       CLAIMS AND REQUEST FOR DISMISSAL 
        
       Defendant, Wells Fargo Bank, N.A. (“Wells Fargo”), and Plaintiff, Heather Hanna 

(“Plaintiff”) (collectively, the “Parties”), file this Joint Stipulation to Arbitrate Claims and 

Request for Dismissal, respectfully stating as follow: 

       1.      Plaintiff commenced this action by filing a Complaint against Wells Fargo 

on December 29, 2017.  See doc. 1. 

       2.      The Parties have since agreed to arbitrate all claims in this case pursuant to 

the  express  terms  of  the  credit  account  agreement,  out  of  which  the  subject  of  the 

Complaint filed in this matter arises. 

       3.      The Parties, through their respective counsel of record, stipulate and agree 

to the terms as follows: 

            a. The parties shall submit to binding non‐judicial arbitration; 

            b. The  arbitration  shall  be  conducted  through  American  Arbitration 

               Association (“AAA”); 




JOINT STIPULATION TO ARBITRATE CLAIMS AND REQUEST FOR DISMISSAL – PAGE 1 
      Case 4:17-cv-03912 Document 8 Filed on 02/06/18 in TXSD Page 2 of 3



          c. This case shall be dismissed without prejudice pursuant to Federal Rule of 

              Civil Procedure 41(a)(1)(A)(ii), and each Party shall bear its own attorneys’ 

              fees and costs as to this federal court action; 

          d. Plaintiff will initiate arbitration with AAA according to the Rules set forth 

              by the AAA for Consumer Arbitration;  

          e. In all other respects, both parties explicitly agree to arbitrate this dispute 

              consistent with the rules of the dispute forum. 

       WHEREFORE,  PREMISES  CONSIDERED,  the  Parties  respectfully  request  that 

this Court enter their proposed Order, which is being submitted contemporaneously with 

this Joint Stipulation to Arbitrate Claims and Request for Dismissal.  

       Dated: February 6, 2018.    

                                           Respectfully submitted, 
                                            
                                           /s/ Adam T. Hill                                 
                                           Adam T. Hill   
                                           Krohn & Moss, Ltd.  
                                           10 N. Dearborn St., 3rd Fl.  
                                           Chicago, IL 60602  
                                           (312) 578‐9428 Phone 
                                           (866) 861‐1390 Fax 
                                           ahill@consumerlawcenter.com 
                                            
                                           ATTORNEYS FOR PLAINTIFF 
                                           HEATHER HANNA 




JOINT STIPULATION TO ARBITRATE CLAIMS AND REQUEST FOR DISMISSAL – PAGE 2 
      Case 4:17-cv-03912 Document 8 Filed on 02/06/18 in TXSD Page 3 of 3



                                         /s/ Brian Vanderwoude                              
                                         J. Brian Vanderwoude           
                                         Texas Bar No. 24047558 
                                         DORSEY & WHITNEY, LLP 
                                         300 Crescent Court, Suite 400 
                                         Dallas, TX 75201 
                                         (214) 981‐9900 Phone 
                                         (214) 981‐9901 Facsimile 
                                         vanderwoude.brian@dorsey.com 
                                          
                                         ATTORNEYS FOR DEFENDANT 
                                         WELLS FARGO BANK, N.A. 
                                          
                                              
                                              
                              CERTIFICATE OF SERVICE 
                                              
       I hereby certify that on February 6, 2018, I electronically filed the foregoing with 

the Clerk of the Court using the CM/ECF system, which will send notification of such 

filing to all counsel of record. 

                                          /s/ Brian Vanderwoude                             
                                          J. Brian Vanderwoude 
        

                                           
 




JOINT STIPULATION TO ARBITRATE CLAIMS AND REQUEST FOR DISMISSAL – PAGE 3 
